






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-09-00670-CR






Orval Roger Miller Jr., Appellant


v.


The State of Texas, Appellee






FROM THE DISTRICT COURT OF BASTROP COUNTY, 21ST JUDICIAL DISTRICT

NO. 13530, HONORABLE REVA TOWSLEE CORBETT, JUDGE PRESIDING





O P I N I O N


		Appellant Orval Roger Miller Jr. pleaded guilty to three counts of possession of
child&nbsp;pornography.  A jury assessed punishment at three years' imprisonment for count one,
ten&nbsp;years' imprisonment for counts two and three, and a $5,000 fine for each count.  Upon
recommendation of the jury, the district court suspended imposition of the sentence for counts two
and three and placed Miller on community supervision for ten years following his imprisonment on
count one.  In two issues on appeal, Miller asserts that the district court abused its discretion by
denying his motion to suppress because, in Miller's view, the evidence against him was obtained in
violation of (1) his constitutional right to be free from unreasonable searches and seizures and
(2)&nbsp;article 38.23 of the Texas Code of Criminal Procedure.  We will affirm the judgment.




BACKGROUND

		At the hearing on the motion to suppress, the district court heard evidence that on
May 4, 2007, Eric Edwards, who at the time was an officer with the Elgin Police Department, (1)
entered the department's patrol room in order to print out a copy of his daily activity report from his
personal thumb drive. (2)  The patrol room, Edwards testified, was accessible to "all the patrol officers,
all Elgin PD employees," dispatch, law enforcement officers from other counties, the media, and
animal-control personnel.

		The patrol room had a computer that, according to Edwards, was located "at the
front&nbsp;desk entering the patrol room."  Edwards testified that when he sat down at this computer
to&nbsp;print out his report, he noticed "another thumb drive in the computer."  Edwards did not know
to&nbsp;whom the drive belonged:  "I didn't notice any names on it or markings.  I [had] never seen it
before."  In an attempt to identify the owner of the thumb drive so that he could return it to him,
Edwards logged onto the computer and opened the drive.  After doing so, Edwards saw several
folders on the drive, including one that apparently contained pictures.  Upon opening this folder,
Edwards found a picture of an unclothed adult female.  Considering the picture to be pornographic
and offensive, Edwards "exited out of the thumb drive, pulled it out of the computer, and secured&nbsp;it
for Lieutenant Corbett," his supervisor.  Lieutenant Corbett gave the drive to Assistant Police Chief
Phillip Taylor, who searched the drive and discovered what he believed to be child pornography. 
Taylor then turned the drive over to the Office of the Attorney General (OAG), and an investigation
commenced.

		The investigation was led by Sergeant Wesley Hensley of the OAG.  Hensley testified
that at the beginning of the investigation, he was informed by the Elgin Police Department that they
suspected that the drive belonged to Miller, then an officer with the department.  After performing
an initial "preview" examination of the thumb drive, Hensley and his team decided to speak with
Miller to confirm whether the drive belonged to him.

		Hensley testified that during the interview, which took place at the Elgin
Police&nbsp;Department, they obtained verbal and written consent from Miller to perform a "full forensics
search" of the thumb drive and also permission to go to Miller's house and search both his laptop
and desktop computers. (3)  Hensley also testified that Miller "was told in the very beginning of the
interview that he was not under arrest, that he was free to leave at any time, did not have to talk to
us, and he also wasn't under indictment or anything like that."  Hensley further testified that to the
best of his knowledge, Miller never revoked his consent.  Miller's computers were subsequently
searched, and child pornography was found on the thumb drive and the laptop computer. 

		During his interview with Miller, Hensley learned of Miller's experience with
computers.  According to Hensley, Miller knew how to transfer files to a thumb drive, create
different folders on the drive, and burn files from the drive onto a CD.  Additionally, Miller had a
Yahoo! account with a user name and had used his account to check email and chat with his wife
and&nbsp;brother.  When asked if it appeared to him that Miller "had a pretty solid understanding of how
computers work and that he utilized them at an advanced level," Hensley testified, "Yes, ma'am."
Hensley also recounted how Miller had told him that he had left his thumb drive at the
police&nbsp;department on three prior occasions, that on those occasions the drive would usually show up
in his inbox within a day or two, and that he had agreed to let Lieutenant Corbett place the drive in
his inbox if it was ever found.

		Miller also testified at the suppression hearing.  Miller admitted that the thumb drive
belonged to him and that he had accidentally left it in the patrol room on the day when Edwards
had&nbsp;found it.  Miller claimed that he had an expectation of privacy in the thumb drive.  According
to Miller, he used the thumb drive to store his police activity reports and, like other officers, would
sometimes take the drive into the patrol room to print out his reports from the computer.  Miller
testified that he considered the patrol room where he had left the drive to be a private area because
"the way I understood it nobody was allowed to come back there unless they were escorted by a
police officer."  Miller also considered the thumb drive to be his private possession and testified that
he did not share it with anyone else or give anyone permission to look through it.  Comparing his
thumb drive to his wallet, Miller believed that just because he had allowed other officers to return
the thumb drive to his inbox if it was found did not mean that he had given other officers permission
to search the drive.

		Miller further testified that during his interview with the investigators from the
Office&nbsp;of the Attorney General, he "somewhat felt like" he was in custody.  Miller explained that
prior to the interview, one of the investigators took Miller's weapon from him.  Also, one of the
interviewers, Miller claimed, became "very antagonistic and accusatory" as the interview proceeded. 
Miller recalled, "I was expecting to be arrested at any time."  Miller admitted to signing the consent-to-search forms but claimed that he only did so because "if I didn't sign the consent forms, I was
going to get served with a search warrant anyway."  Based on the above circumstances, Miller agreed
with counsel's characterization of his consent as not being "truly free and voluntary."

		On cross-examination, Miller acknowledged that his thumb drive did not have
identifying markings on it, such as his name, address, phone number, or badge number.  Miller
claimed that at the time the drive was found, the initials of a former employer, the Austin
Community College Police Department ("ACCPD") were written on the drive in "faded red ink."
Miller believed that because of this marking, employees at the department who had found the
drive&nbsp;on prior occasions might have been able to surmise that the drive belonged to him.  However,
Miller admitted that this marking did not necessarily identify the drive as his.  Miller testified that
Lieutenant Corbett had also worked at ACC, and Miller agreed with the prosecutor's statement
that&nbsp;"ACC could stand for a lot of things."  Miller also agreed with the prosecutor's statement that
"all the other officers were using thumb drives."  Additionally, Miller acknowledged that he did not
actually know how the drive had been identified as belonging to him on the prior occasions that he
had left it at the department and that, in fact, it could have been opened on those other occasions.		Miller also acknowledged that the patrol room where his thumb drive was found
was&nbsp;accessible to all law enforcement officers, including those from other counties, and also by
animal control personnel and citizens who came to the department to file a complaint, as long as they
were escorted into the room by police officers.  Miller further acknowledged that he did not keep his
thumb drive in a locked case and that it was not password protected.

		Regarding the interview, Miller admitted that he was not in handcuffs at the time,
he&nbsp;was not told that he was under arrest or that the issuance of a search warrant was imminent,
nobody had prevented him from leaving during the interview, and he was not arrested until two or
three months later.  Miller further acknowledged having read a copy of the department's personnel
policies, which included a policy stating that "[c]omputers are the property of the City of Elgin and
any screen saver, graphics must be approved by the chief of police."  After having Miller recite this
policy to the court, the prosecutor asked Miller, "So you knew you didn't have any reasonable
expectation of privacy to the department's computer, correct?"  Miller answered, "Yes, ma'am."

		At the conclusion of the hearing, the district court issued its ruling on Miller's
motion&nbsp;to suppress: "First of all, the Court finds you had no standing.  Second of all, the Court
denies the motion in its entirety.  That's it."

		Subsequently, Miller pleaded guilty to the charges against him and the case proceeded
to trial on punishment.  After the jury rendered its verdict, noted above, the district court sentenced
Miller accordingly.  This appeal followed.


STANDARD OF REVIEW

		A trial court's ruling on a motion to suppress is reviewed on appeal for abuse of
discretion.  State v. Dixon, 206 S.W.3d 587, 590 (Tex. Crim. App. 2006).  The trial court is given
almost complete deference in its determination of historical facts, especially if those are based on
an assessment of credibility and demeanor.  State v. Garcia-Cantu, 253 S.W.3d 236, 241 (Tex. Crim.
App. 2008).  The same deference is afforded the trial court with respect to its rulings on application
of the law to questions of fact and to mixed questions of law and fact, if resolution of those questions
depends on an evaluation of credibility and demeanor.  Montanez v. State, 195 S.W.3d 101, 108-09
(Tex. Crim. App. 2006).  However, for mixed questions of law and fact that do not fall within that
category, a reviewing court conducts a de novo review.  Amador v. State, 221 S.W.3d 666, 673
(Tex.&nbsp;Crim. App. 2007).

		At the suppression hearing, the trial court is the sole and exclusive trier of fact and
judge of the witnesses' credibility.  Maxwell v. State, 73 S.W.3d 278, 281 (Tex. Crim. App. 2002).
Accordingly, the trial court may choose to believe or to disbelieve all or any part of the witnesses'
testimony.  State v. Ross, 32 S.W.3d 853, 855 (Tex. Crim. App. 2000).  Unless the trial court
abuses&nbsp;its discretion by making a finding unsupported by the record, we defer to the trial court's
findings of fact and will not disturb them on appeal.  Flores v. State, 177 S.W.3d 8, 13-14
(Tex.&nbsp;App.--Houston [1st Dist.] 2005, pet. ref'd).  When the trial court fails to make explicit
findings of fact, we imply fact findings that support the trial court's ruling so long as the evidence
supports these implied findings.  Gutierrez v. State, 221 S.W.3d 680, 687 (Tex. Crim. App. 2007).


ANALYSIS

Fourth Amendment and Article I, § 9

		In his first issue, Miller asserts that his motion to suppress should have been granted
because the evidence was obtained in violation of his right under the federal and state constitutions
to be free from "unreasonable searches and seizures."  See U.S. Const. amend. IV; Tex. Const. art.&nbsp;I,
§ 9.  In Miller's view, he had a "reasonable expectation of privacy in the computer thumb drive,
and&nbsp;law enforcement's warrantless searches of the contents of the thumb drive were per se
unreasonable."  See United States v. Barth, 26 F. Supp. 2d 929, 936 (W.D. Tex. 1998) (concluding
that "the Fourth Amendment protection of closed computer files and hard drives is similar to
the&nbsp;protection it affords a person's closed containers and closed personal effects").  Miller further
contends that his later consent to the searches of his thumb drive and other computers was "tainted
by the earlier Fourth Amendment violation."

		The purpose of both the Fourth Amendment and Article I, § 9, "is to safeguard
an&nbsp;individual's legitimate expectation of privacy from unreasonable governmental intrusions."
Richardson v. State, 865 S.W.2d 944, 948 (Tex. Crim. App. 1993).  Thus, an accused has standing
to challenge the admission of evidence obtained by a governmental intrusion only if he had a
"legitimate expectation of privacy" in the place subject to intrusion by the government.  See Rakas
v. Illinois, 439 U.S. 128 (1978); Villarreal v. State, 935 S.W.2d 134, 138 (Tex. Crim. App. 1996);
Davidson v. State, 249 S.W.3d 709, 725 (Tex. App.--Austin 2008, pet. ref'd).  The accused "has
the burden of proving facts establishing a legitimate expectation of privacy."  Villarreal, 935 S.W.2d
at 138 (citing Calloway v. State, 743 S.W.2d 645, 650 (Tex. Crim. App. 1988)).  "To carry this
burden, the accused must normally prove:  (a) that by his conduct, he exhibited an actual subjective
expectation of privacy, i.e., a genuine intention to preserve something as private; and (b) that
circumstances existed under which society was prepared to recognize his subjective expectation
as&nbsp;objectively reasonable."  Id. (citing Smith v. Maryland, 442 U.S. 735, 740 (1979); Richardson,
865 S.W.2d at 948-949).

		The district court would not have abused its discretion in finding that Miller did
not&nbsp;carry his burden of proof on either requirement.  First, the record supports a finding by the
district court that Miller, by his conduct, did not exhibit an actual subjective expectation of privacy
in the thumb drive.  Miller testified that on three prior occasions, he had left his thumb drive in the
patrol room, an area that was accessible to other law enforcement officers, animal control personnel,
and citizens who were accompanied by officers.  Although Miller testified that he considered the
thumb drive to be his "private possession," he also testified that other than the initials "ACCPD,"
the thumb drive did not contain external identifying marks such as his name, badge number,
address,&nbsp;or telephone number.  Furthermore, the evidence tended to show that Miller possessed
advanced computer knowledge.  Yet by his own admission, Miller did nothing to prevent others
from&nbsp;accessing the thumb drive, such as protecting it with a password, encrypting the data, or
even&nbsp;placing the drive in a locked case.  In fact, Edwards testified that when he found the drive in
the patrol room, it was already "in" the computer--a computer which was the property of the Elgin
Police Department.  The district court also could have reasonably inferred that Miller, by expressly
giving Lieutenant Corbett permission to return the drive to his box, actually expected his co-workers
to ascertain whether the drive belonged to him.  Because of the lack of identifying marks on the
drive, the district court could have reasonably inferred that Miller was aware that his co-workers
might attempt to identify to whom the drive belonged by opening it.

		In summary, the record reflects that Miller, on multiple occasions, left the
thumb&nbsp;drive unattended, unidentified, and unsecured in an area open to his co-workers and other
individuals.  Thus, on this record, the district court would not have abused its discretion in finding
that Miller, by his conduct, did not exhibit an actual subjective expectation of privacy in the drive. 

		Additionally, even assuming that Miller had exhibited a subjective expectation of
privacy in the drive, the district court would not have abused its discretion in finding that such an
expectation was not objectively reasonable under the circumstances.  There are several factors that
courts may consider in determining whether an expectation of privacy is objectively reasonable,
including:  (1)&nbsp;whether the accused had a property or possessory interest in the place invaded;
(2)&nbsp;whether he was legitimately in the place invaded; (3) whether he had complete dominion or
control and the right to exclude others; (4) whether, before the intrusion, he took normal precautions
customarily taken by those seeking privacy; (5) whether he put the place to some private use;
and&nbsp;(6)&nbsp;whether his claim of privacy is consistent with historical notions of privacy.  Granados
v.&nbsp;State, 85 S.W.3d 217, 223 (Tex. Crim. App. 2002) (citing Villarreal, 935 S.W.2d at 138).  "This
list of factors is not exhaustive, however, and none is dispositive of a particular assertion of privacy;
rather, we examine the circumstances surrounding the search in their totality."  Id.  Although the
above factors "are more applicable when discussing the expectation of privacy in a place than in
discussing the expectation of privacy in a computer hard drive or even a closed container," Rogers
v. State, 113 S.W.3d 452, 457 (Tex. App.--San Antonio 2003, no pet.), some of the factors
are&nbsp;relevant here.

		The first factor supports Miller's position.  Miller testified that the thumb drive
was&nbsp;his "private possession," and the State did not dispute this fact.  Thus, Miller had a possessory
interest in the thumb drive. (4)  However, the other relevant factors weigh against a finding of objective
reasonableness.  Although Miller testified that he did not share his thumb drive with others, he also
testified that he had given Lieutenant Corbett permission to return the thumb drive to his box if it
was ever found.  Miller had left the drive at work on multiple occasions, and the drive was returned
to him on those occasions.  The district court could have reasonably inferred that in order to return
the drive to Miller, others must have taken temporary possession of the drive and possibly accessed
it to ascertain whether it belonged to Miller.  Thus, Miller did not exercise complete dominion or
control over the drive, at least during the times he had misplaced it.  The record also supports a
finding that Miller did not take precautions to maintain his expectation of privacy.  Again, Miller did
not mark the drive with his name, badge number, address, or telephone number.  And, despite his
knowledge of computers, Miller did not protect his drive with a password or secure the drive in a
locked case.  Instead, on the occasion in question, Miller left the drive connected to the patrol-room
computer where it was easily accessible to others.  Furthermore, Miller also testified that he used the
thumb drive for storing police activity reports, which the district court could have reasonably inferred
was not a private use.  Finally, Miller's claim of privacy in a computer device that stores work-related data is not consistent with historical notions of privacy.  See, e.g., Voyles v. State, 133 S.W.3d
303, 306 (Tex. App.--Fort Worth 2004, no pet.) (concluding that appellant "did not have a
reasonable expectation of privacy with regard to his work computer and the materials stored in it"
because, among other reasons, computer was used for work-related purposes).

		Considering the totality of the above circumstances, we cannot conclude that
the&nbsp;district court abused its discretion in finding that whatever subjective expectation of privacy
Miller may have had in the thumb drive was not objectively reasonable under the circumstances in
this case.  See, e.g., Brackens v. State, 312 S.W.3d 831, 837 (Tex. App.--Houston [1st Dist.] 2009,
pet. ref'd) (observing that "an individual's conduct or activity or the circumstances of the situation"
may "significantly lessen the defendant's reasonable expectation of privacy by creating a reasonably
foreseeable risk of intrusion by private parties"); Lown v. State, 172 S.W.3d 753, 761
(Tex.&nbsp;App.--Houston [14th Dist.] 2005, pet. ref'd) (concluding that appellant failed to show that his
expectation of privacy was objectively reasonable because, among other reasons, "there is no
evidence demonstrating that appellant took any precautions (such as encryption) to protect his
privacy in the information contained on the computer system").  Therefore, we cannot conclude that
the district court abused its discretion in denying Miller's motion to suppress the evidence obtained
as a result of the initial searches and subsequent seizure of his thumb drive.

		We next address Miller's consent to the subsequent searches of his thumb drive
and&nbsp;his other computers.  Since we have already determined that there was no constitutional violation
prior to Miller giving consent (because Miller did not have a reasonable expectation of privacy in
the thumb drive), the only question remaining is the validity of that consent. (5)  An exception to the
warrant requirement, consent is valid when it is voluntarily given.  Gutierrez v. State, 221 S.W.3d
680, 686 (Tex. Crim. App. 2007); Harrison v. State, 205 S.W.3d 549, 552 (Tex. Crim. App. 2006);
Reasor v. State, 12 S.W.3d 813, 818 (Tex. Crim. App. 2000).  "The validity of a consensual search
is a question of fact, and the State bears the burden to prove by clear and convincing evidence that
consent was obtained voluntarily."  Gutierrez, 221 S.W.3d at 686.  "This burden includes proving
that consent was not the result of duress or coercion."  Id.  "To determine whether this burden is met,
we examine the totality of the circumstances."  Id.

		Courts consider many factors in deciding if a suspect's consent was given voluntarily,
including:  (1) whether the consenting person was in custody; (2) whether the suspect was arrested
at gunpoint; (3) whether the suspect had the option of refusing consent; (4) the constitutional advice
given to the suspect; (5) the length of detention; (6) the repetitiveness of the questioning; and (7) the
use of physical punishment.  See Reasor, 12 S.W.3d at 318; Flores v. State, 172 S.W.3d 742, 749
(Tex. App.--Houston [14th Dist.] 2005, no pet.).  We also consider the suspect's age, intelligence,
and education.  Reasor, 12 S.W.3d at 318; Flores, 172 S.W.3d at 750. Therefore, the examination
of the totality of the circumstances should include all the circumstances before the search, the
suspect's reaction to pressure, and any other factor deemed relevant.  Reasor, 12 S.W.3d at 818.

		There were some circumstances tending to show that Miller may have been in custody
during the interview.  Miller testified that his weapon was taken from him prior to the interview and
that one of the interviewers became "very antagonistic and accusatory" as the interview proceeded.
Miller was also informed during the interview that child pornography had already been found on his
thumb drive.  Thus, Miller believed that "if I didn't sign the consent forms, I was going to get served
with a search warrant anyway."  As a result of these circumstances, Miller "somewhat felt like" he
was in custody and "expected to be arrested at any time."

		On the other hand, there were many other circumstances tending to show that Miller
was not in custody and that his consent was obtained voluntarily.  According to Sergeant Hensley,
the interview lasted approximately 20 to 30 minutes.  A transcript of the interview was admitted into
evidence, and there is nothing in the transcript to indicate that Miller was subject to any sort of
coercion, duress, or physical force during the interview.  Hensley testified that Miller "was told in
the very beginning of the interview that he was not under arrest, that he was free to leave at any time,
did not have to talk to us, and he also wasn't under indictment or anything like that."  This testimony
is confirmed by the transcript of the interview.  Also, Miller admitted that he was not in handcuffs
at the time of the interview, that no weapons were drawn at any time, that he was not told that he
was&nbsp;under arrest or that the issuance of a search warrant was imminent, that he was not arrested until
two or three months later, and that nobody had prevented him from leaving during the interview. 
In fact, Miller testified that he was allowed to leave the interview room and go to his car in order to
retrieve his reading glasses before signing the consent-to-search forms.  Additionally, Miller testified
that he had 22 years of law-enforcement experience and 1,764 hours of law-enforcement training,
including classes on law, search-and-seizure procedures, and consent.  The district court could have
reasonably inferred from this evidence that Miller knew that he was not required to sign the consent
forms and that Miller was fully aware of the legal consequences of giving his consent to search his
thumb drive and other computers.

		Considering the totality of the above circumstances, we cannot conclude that the
district court abused its discretion in finding that the State proved by clear and convincing evidence
that Miller's consent was obtained voluntarily.  Thus, we cannot conclude that the district court
abused its discretion in denying Miller's motion to suppress the evidence obtained as a result of
that&nbsp;consent.

		We overrule Miller's first issue.







Article 38.23

		In his second issue, Miller asserts that his motion to suppress should have been
granted because the evidence was obtained in violation of article 38.23 of the code of criminal
procedure, which provides in relevant part that "no evidence obtained  by an officer or other person
in violation of any provisions of the Constitution or laws of the State of Texas . . . shall be admitted
in evidence against the accused on the trial of any criminal case."  Tex. Code Crim. Proc. Ann.
art.&nbsp;38.23(a) (West 2005).  The law that Miller claims was violated in this case is breach of computer
security, section 33.02 of the penal code, which provides that "[a] person commits an offense if the
person knowingly accesses a computer, computer network, or computer system without the effective
consent of the owner."  Tex. Penal Code Ann. § 33.02(a) (West 2003).  According to Miller, the
statute was violated by Edwards when he first accessed Miller's thumb drive in order to identify to
whom it belonged and by Chief Taylor when he subsequently accessed the drive.

		We first observe that Miller is raising this argument for the first time on appeal.  The
record does not reflect that section 33.02 was raised in Miller's motion to suppress or argued
at&nbsp;the&nbsp;suppression hearing.  Because Miller did not raise this contention below, it is waived.  See
Tex. R. App. P. 33.1(a); Smith v. State, 236 S.W.3d 282, 291 (Tex. App.--Houston [1st Dist.] 2007,
pet.&nbsp;ref'd); see also Hailey v. State, 87 S.W.3d 118, 122 (Tex. Crim. App. 2002) ("[A] trial court's
decision will not be reversed on a theory the trial court did not have an opportunity to rule upon
and&nbsp;upon which the non-appealing party did not have an opportunity to develop a complete
factual&nbsp;record.").

 

		Moreover, even if the issue had been preserved, the record would support a finding
by the district court that Miller, by leaving his thumb drive in an area accessible to all of his co-workers, and by allowing them to put the drive in his box if it was found, gave effective consent for
his co-workers to access the drive in order to identify whether the drive belonged to him.  See Knepp
v. State, No. 05-08-00002-CR, 2009 Tex. App. LEXIS 1765, *9 (Tex. App.--Dallas Mar. 13, 2009,
no pet.) (not designated for publication) ("By leaving his computer open and unsecured, appellant
knew he was leaving it for his coworkers to access. Under these circumstances, the trial court could
reasonably conclude that [a co-worker] had appellant's effective consent to access the computer."). 

		We overrule Miller's second issue. 

	

CONCLUSION

		We affirm the judgment of the district court.



						__________________________________________

						Bob Pemberton, Justice

Before Chief Justice Jones, Justices Puryear and Pemberton

Affirmed

Filed:   March 9, 2011

Publish
1.   By the time of the hearing, Edwards was serving as Chief of Police in Bartlett.
2.   Sergeant Wesley Hensley of the Office of the Attorney General testified during the
suppression hearing that a thumb drive, also known as a flash drive, is a thumb-shaped "digital
device you can store media on . . . any kind of records, documents, photographs, videos."
3.   A transcript of this interview was admitted into evidence, as were three consent-to-search
forms that contained Miller's signatures.  Each form concerned a separate item to be searched.
4.   The State asserts on appeal that Miller "voluntarily abandoned" his possessory interest
in&nbsp;the thumb drive by leaving it in the patrol room.  The Fourth Amendment does not protect
those&nbsp;who voluntarily abandon property.  Abel v. United States, 362 U.S. 217, 241 (1960).  However,
abandonment of property occurs only "if the defendant intended to abandon the property and
his&nbsp;decision to abandon it was not due to police misconduct."  McDuff v. State, 939 S.W.2d 607, 616
(Tex. Crim. App. 1997) (emphasis added).  In this case, it was undisputed that Miller's abandonment
of his thumb drive was unintentional.
5.   If there had been a constitutional violation, we would also need to determine whether the
causal relationship between the illegal search and seizure and Miller's consent was attenuated--i.e.,
that the illegal search and seizure did not "taint" the otherwise voluntary consent.  See Brick v. State,
738 S.W.2d 676, 680-81 (Tex. Crim. App. 1987).  We need not address that question in this case.


